       Case 1:22-cv-10987-JGLC                 Document 172   Filed 05/29/25   Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------- X
 eShares, Inc. d/b/a Carta, Inc.,                     :
                                                      :
                        Plaintiff,                    : Civil Action No.: 1:22-cv-10987
                                                      :
          v.                                          : Hon. Jessica G. L. Clarke
                                                      :
 Jerry O. Talton, III,                                :
                                                      :
                        Defendant.
                                                      :
                                                      : NOTICE OF WITHDRAWAL OF
 ---------------------------------------------------- X APPEARANCE AND ORDER
 ----------------------------------------------------   X
 Jerry O. Talton, III,                                  :
                                                        :
                       Counterclaim Plaintiff,          :
                                                        :
          v.                                            :
                                                        :
 eShares, Inc. d/b/a/ Carta, Inc., and                  :
 Henry Ward,                                            :
                Counterclaim Defendants.                :
                                                        :
                                                        X

           TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

        PLEASE TAKE NOTICE that, pursuant to Southern District of New York Local Civil

Rule 1.4(b), I, Julia M. Fitzgerald, hereby respectfully withdraw my appearance as counsel for

Henry Ward in the above-captioned action. I continue to represent eShares, Inc. d/b/a Carta, Inc.

in this action.

        Mr. Ward is now being represented by Sean Hecker and Shawn G. Crowley of Hecker Fink

LLP. See ECF Nos. 167, 168. My withdrawal as counsel for Mr. Ward will not affect any

deadlines or cause any delay in this matter. I confirm that neither I nor Dechert LLP are asserting

a retaining or charging lien against Mr. Ward. I further confirm that Mr. Ward was aware of, and

consented to, my withdrawal as his counsel of record in this matter.
     Case 1:22-cv-10987-JGLC         Document 172   Filed 05/29/25   Page 2 of 3




Dated: Philadelphia, PA                             DECHERT LLP
       May 29, 2025
                                                    By: /s/ Julia M. Fitzgerald
                                                    Julia M. Fitzgerald
                                                    Cira Centre
                                                    2929 Arch Street
                                                    Philadelphia, PA 19104-2808
                                                    julia.fitzgerald@dechert.com
                                                    Tel.: (215) 994-4000
                                                    Fax: (212) 994-2222


SO ORDERED


___________________________
The Honorable Jessica G. L. Clarke
United States District Judge
      Case 1:22-cv-10987-JGLC         Document 172       Filed 05/29/25      Page 3 of 3




                               CERTIFICATE OF SERVICE

       I, Julia M. Fitzgerald, certify that on May 29, 2025, I caused a copy of the foregoing

document to be electronically filed with the Court using the Court’s CM/ECF electronic filing

system, and that the same was therefore served on all counsel of record via CM/ECF.

                                                   /s/ Julia M. Fitzgerald
                                                   Julia M. Fitzgerald
